Case 9:22-cv-01365-TJM-DJS Document 1-1 Filed 12/19/22 Page 1 of 2
CIVIL COVER SHEET

JS 44 (Rev. 10/20)

The JS 44 civil cover sheet and the information contained herein neither replace nor suppleme
provided by local rules of court. This form, approved by the Judicial Conference of the United States in Septem
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

[. (a) PLAINTIFFS

Joseph Roesch

(b) County of Residence of First Listed Plaintiff
° (EXCEPT IN U.S. PLAINTIFF CASES)

Oneida

(t) Attorneys (firm Name, Address, and Telephone Number)

Pro-Se

DEFENDANTS

Mark Cede

NOTE:

Attomeys (if Known)

 

rbaum

County of Residence of First Listed Defendant

nt the filing and service of pleadings or other papers as required by law, except as
ber 1974, is required for the use of the Clerk of Court for the

Cynthia Provow, Justin Lopata

Oneida

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Attorney General of N.Y.

 

II. BASIS OF JURISDICTION (Piace an “X" in One Box Only)

C] 1 U.S. Government
Plaintiff

[-]2_ U.S, Government
Defendant

IK]3 Federal Question

(U.S. Government Not a Party)

Oo 4 Diversity
(Indicate Citizenship of Parties in ltem H1)

 

(For Diversity Cases Only)

Il. CITIZENSHIP OF PRINCIPAL PARTIES (piace an “X" in One Box for Plainiiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State [xl I ct {Incorporated or Principal Place QO 4 Ol 4
of Business In This State
Citizen of Another State LJ2 [_] 2. Incorporated and Principal Place LI s L]s
of Business In Another State
Citizen or Subject of a (13 [[] 3. Foreign Nation [le (16

Foreign Country

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

Click here for: Nature of 5

uit Code Descriptions.

 

 

 

 

 

 

 

 

 

 

| CONTRACT. TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act | 315 Airplane Product Product Liability  ]690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability Cl 367 Health Care/ | 400 State Reapportionment
150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judginent Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
152 Recovery of Defaulted Liability CI 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
: Student Loans 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability Ir] 840 Trademark Corrupt Organizations
Cl 153 Recovery. of Overpayment Liability PERSONAL PROPERTY LABOR |] 880 Defend Trade Secrets | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[i 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability LJ 380 Other Personal |720 Labor™: ient SOCIAL SECURITY Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
“| 196 Franchise Inj O 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange

| 362 Personal Injury -
Medical Malpractice

Product Liability

Leave Act

 

 

REAL PROPERTY

CIVIL RIGHTS

PRISONER PETITIONS

790 Other Labor Litigation

 

210 Land Condemnation
220 Foreclosure’

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

 

441 Voting

443 Housing/

Other
|_| 448 Education

 

440 Other Civil Rights

442 Employment

Accommodations
445 Amer. w/Disabilities - =} 535 Death Penalty

Employinent
|] 446 Amer. w/Disabilities ~

Habeas Corpus:

+ 463 Alien Detainee
510 Motions to Vacate
Sentence

|] 530 General

Other:

540 Mandamus & Other
r 550 Civil Rights

555 Prison Condition
y_| 560 Civil Detainee -
Conditions of
Confinement

 

791 Employee Retirement
p!
Income Security Act

864 SSID Title XVI
[_] 865 RSI (405(g))

|] 890 Other Statutory Actions

 

FEDERAL TAN SUITS

 

 

[_] 870 Taxes (U.S, Plaintiff
or Defendant)
[_] 871 IRS—Third Party

 

IMMIGRATION

26 USC 7609

 

462 Naturalization Application
465 Other Immigration
Actions

 

 

Y ] 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
4 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
[_] 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)

1 Original
Proceeding

VI. CAUSE OF ACTION

VII. REQUESTED IN
COMPLAINT:

2 Removed from
U State Court

 

3

U.

Remanded from
Appellate Court

S.C. 1983

Brief description of cause: | .
$eFsona Injury, Due Process Violation

[] CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P

VILL RELATED CASE(S)

In TWH aAAaTY

DATE

‘See instructions):

)

y= =

December 14, 2022

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

= SIGN Af EY OF RECORD
(LOD VEC Vo-se

UDGE

Ol 4 Reinstated or

Reopened

DEMAND $

500.000

oO 5 Transferred from
Another District

(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
O Litigation -
Direct File

CHECK YES only if demanded in complaint:

JURY DEMAND:

DOCKET NUMBER

 

(77

APPLYING IFP

 

JUDGE

[xlYes LI]No

 

MAG, JUDGE

—
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Mr. Joseph Roesch, 173071
P.O. Box 300, STARC-Oakview
Marcy, New York 13403
December 15, 2022

Clerk cf the Court

United States District Court

Northern District of New York

U.S. Courthouse & Federal Building

P.O. Box 7367

100 S. Clinton Street

Syracuse, New York 13261

Court Clerk;

I am just filing my 1983 suit with your office, I want the
court to be made aware that I have propared Notice of Lawsuit
and request for waiver of service forms along withWaiver of
service of summons according to the rules of the court.

I did call the court about sending these waivers out and was
told to first submit my complaint to the court and I ‘mould
then be instructed on service issues, I just want the court to
know I have these forms ready to go if the court will allow me
to use these for service of summons.

I am filing this suit with In forma Paupius status papers

being I am a civil detainee.

Resp ull bmitted

At

Mi Joseph Roesch

 

CC: 1983 File
